Document 472 Filed 11/29/18 Page 1 of 9 |

U.S. Department of Justice

 

 

United States Attorney

District of Maryland
Matthew DeilaBetta Suite 400 DIRECT: 410-209-4857
Assistant United States Attorney 368. Charles Street MAIN: 410-209-4800
Matthew. DellaBetta(@usdaj.gev Baltimore, MD 21201-3119

November 8, 2018
Richard Bardos, Esq. FILED ENTERED
VIA EMAIL . ——— LOBREA  peamen

NOV 29 2018 ©
Re: United States v. Rodney Addison

Ab re
Criminal No. ELH-17-475 (D. Md.) w See Uk RARE coun

Dear Counsel: | . | WM

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“A greement”) that has been offered to your client, Rodney Addison (hereinafter “Defendant”), by
the United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by November 19, 2018, it will be deemed withdrawn. The terms of the
Agreement are as follows:

Offense of Conviction

l. The Defendant agrees to plead guilty to Count One of the Information, which
charges the Defendant with Conspiracy to Distribute Controlled Substances, in violation of 21
U.S.C. § 846. The Defendant admits that the Defendant is, in fact, guilty of the offense and will
so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: That beginning in or about
January 2012 through on or about October 24, 2017, in the District of Maryland,

(1) There existed an agreement between two or more persons to distribute and possess with
intent to distribute a mixture or substance containing a detectable amount of heroin, a
Schedule I controlled substance;

(2) The Defendant knew of this agreement; and

(3) The Defendant knowingly and voluntarily participated in or became a part of this agreement.
1
Case 1:17-cr-00475-ELH Document 472 Filed 11/29/18 Page 2 of 9

Penalties

 

 

 

 

 

 

 

 

 

 

 

3. The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:
COUNT | STATUTE | MAND. MIN. MAX MAX MAX FINE | SPECIAL
IMPRISON- IMPRISON- | SUPERVISED ASSESS-
MENT MENT RELEASE MENT
1 21 U.S.C. N/A 20 years life $1 million | $100
§ 846

a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant to 18
ULS.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due,

e. Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.
Case 1:17-cr-00475-ELH Document 472 Filed 11/29/18 Page 3 of 9

Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

C. If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoéver. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

d. The Defendant would have the right to testify in the Defendant’s own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

€. If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.
Case 1:17-cr-00475-ELH Document 472. Filed 11/29/18 Page 4 of 9

h. By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect.to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences. ,

Advisory Sentencing Guidelines Apply

 

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28
U.S.C, — §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree to the following applicable sentencing guideline factors:

a. The base offense level for Count One is 24 pursuant to United States Sentencing
Guidelines (“U.S.8.G.”) § 2D1.1(c)(8).

b. This Office does not oppose a two-level reduction in the Defendant's adjusted offense
level, based upon the Defendant's apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct pursuant to U.S.S.G. §
3E1.1(a). This Office also agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b)
for an additional one-level decrease in recognition of the Defendant’s timely
notification of his intention to plead guilty.

c. Therefore, the total offense level is 21.

7, There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income. The Defendant agrees the Defendant will not raise any argument that any

specific prior conviction is not a predicate for a career offender designation under U.S.S.G.
4
Case 1:17-cr-00475-ELH Document 472 Filed 11/29/18 Page 5 of 9

§ 4B1.1,

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11(c)(1)(C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)a.(C) that a sentence of 84 months (7 years) is the appropriate disposition in this case. This
agreement does not affect the Court’s discretion to impose any lawful term of supervised release,
restitution, or fine, or to set any lawful conditions of probation or supervised release. If the Court
rejects this plea agreement, either party may elect to declare the agreement void. Should the
Defendant elect to do so, he will be afforded the opportunity to withdraw his plea pursuant to the
provisions of Federal Rule of Criminal Procedure 11(c)(5).

10. The parties also agree that a sentence of 84 months (7 years) is a reasonable and
appropriate sentence, taking into consideration the nature and circumstances of the offense, and
the Defendant’s criminal history, and all of the other factors set forth in 18 U.S.C. § 3553(a).

Obligations of the Parties

ll. At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable period of supervised release, and/or fine considering any appropriate
factors under 18 U.S.C. § 3553(a). This Office reserves the right to bring to the Court’s attention
all information with respect to the Defendant’s background, character, and conduct that this Office
deems relevant to sentencing, including the conduct that is the subject of any counts of the
Indictment. At the time of sentencing, this Office will move to dismiss any open counts against
the Defendant.

Waiver of Appeal

12. ‘In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground |
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or

condition of supervised release), except as follows:
5
Case 1:17-cr-00475-ELH Document 472 Filed 11/29/18 Page 6 of 9

(i) The Defendant reserves the right to appeal the sentence of imprisonment if
the total term of imprisonment exceeds 84 months;

Gi) | This Office reserves the right to appeal the sentence of imprisonment if the
total term of 1 imprisonment is less than 84 months.

c. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Defendant’s Conduct Prior to Sentencing and Breach

13. a. Between now and the date of the sentencing, the Defendant will not engage
in conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any
federal, state, or local law; will acknowledge guilt to the probation officer and the Court; will be
truthful in any statement to the Court, this Office, law enforcement agents, and probation officers;
will cooperate in the preparation of the presentence report; and will not move to withdraw from
the plea of guilty or from this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the
above paragraph of this Agreement, and the Court finds a violation by a preponderance of the
evidence, then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office
may make sentencing arguments and recommendations different from those set out in this
Agreement, even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and Gii) in any
criminal or civil proceeding, this Office will be free to use against the Defendant al! statements
made by the Defendant and any of the information or materials provided by the Defendant,
including statements, information, and materials provided pursuant to this Agreement, and
statements made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of
Criminal Procedure. A determination that this Office is released from its obligations under this
Agreement will not permit the Defendant to withdraw the guilty plea. The Defendant
acknowledges that the Defendant may not withdraw the Defendant’s guilty plea—even if made
pursuant to Rule 11(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In
that event, neither the Court nor the Government will be bound by the specific sentence or
sentencing range agreed and stipulated to herein pursuant to Rule 11(c)(1){C).

Court Not a Party

14. The Defendant expressly understands that the Court is not a party to this agreement.
In the federal system, sentence is imposed by the Court, and the Court is under no obligation to
accept this plea agreement. In the event the Court rejects this Rule 11(c)(1)(C) plea agreement,
pursuant to Rule 11(c)(5)(C), the Defendant will be informed that he may withdraw his plea. Ifhe
. persists in the guilty plea thereafter, the Defendant understands that the disposition of the case may
be less favorable than that contemplated by this agreement. The Defendant understands that neither
this Office, his attorney, nor the Court can make a binding prediction or promise that the Court
will accept this agreement. The Defendant agrees that no one has made such a binding prediction
or promise.
_ Case 1:17-cr-00475-ELH Document 472 Filed 11/29/18 Page 7 of 9

Entire Agreement

15. This fetter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Robert K. Hur
United States Attorney

FF

Matthew DeNeBetta

Assistant United States Attorney

I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. 1] understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. | am completely satisfied with the representation of my attorney.

peli Leidher, Lldlobote

Rodney AGdi ison

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

uferfly | /4n vlow

Date Richard Bardos, Esq.
Case 1:17-cr-00475-ELH Document 472 Filed 11/29/18 Page 8 of 9

ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

From at least January 2012 through October 24, 2017, a drug trafficking organization
(“DTO”) controlled and operated an open air drug market at 1100 North Montford Avenue in
Baltimore, Maryland. The DTO distributed large quantities of heroin on a daily basis. From
multiple undercover purchases of heroin, law enforcement seizures of heroin, lawful interceptions
of wiretap communications amongst DTO members, and interviews with witnesses, investigators
determined that the DTO sold thousands of dollars in heroin on a weekly basis.

From beginning in at least July 1, 2017 and continuing through August 1, 2017, the
Defendant, participated in the DTO as a street level drug distributor. During this period, the
Defendant knowingly agreed with other members of the DTO to distribute heroin and cocaine. On
a daily basis, the Defendant conducted street-level drug sales to drug buyers. Over the course of
the Defendant’s participation in the conspiracy, it was reasonably foreseeable to the Defendant that
the DTO distributed over 100 grams of heroin, but less than 400 grams of heroin and a detectable
amount of cocaine base.

On or about August 1, 2017, the Defendant was intercepted during a wiretap arranging a
drug sale of heroin and cocaine with another member of the DTO. The Defendant later met with
the prospective buyers and began to engage in the drug sale with a Baltimore City Police
Department officer on patrol observed the exchange. The Defendant and buyers were stopped. The
officer recovered 14 gel capsules of heroin and 17 vials of cocaine from the Defendant. The
Defendant possessed these controlled substances with the intent to distribute them.

SO STIPULATED:

 

Matthdéw DellaBetta
Assistant United States Attorney

DATED:

 

Defendant
Case 1:17-cr-00475-ELH Document 472 Filed 11/29/18 Page 9 of 9

DATED:
| hbacde >

[chard Bardos, Esq. ~
Counsel for Defendant
